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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

THE MANAGEMENT GROUP, LLC,                      )
                                                )
        Plaintiff,                              )
                                                )
v.                                              ) CIVIL ACTION NO.
                                                )
QBE INSURANCE CORPORATION,                      )
                                                )
        Defendant.                              )
                                                )
                                                )

                                 COMPLAINT

      Plaintiff The Management Group, LLC (“The Management Group”), by

and through undersigned counsel, files this Complaint against QBE Insurance

Corporation (“QBE”), showing as follows:

                     PARTIES, JURISDICTION & VENUE

      1.     The Management Group is a Georgia limited liability company with

its principal place of business in Atlanta, Georgia.

      2.     The Management Group has the following members: (1) DCRE,

LLLP; (2) DK Family Holdings, LLLP; (3) Vela Holdings, LLLP; (4) The Resi-

dential Group, LLC; and (5) Charles J. Harkness. The domicile information for

these members is as follows:
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              2.1.    DCRE LLLP is a Georgia limited liability limited partnership

with its principal place of business located at 7000 Peachtree Dunwoody Road,

NE, Building 14, Atlanta, GA 30328. DCRE LLLP has the following members:

(1) Pablo Diego; (2) Vela Holdings, LLLP; (3) DK Family Holdings, LLLP; (4)

Solero Holdings, LLLP. The domicile information for these individuals and enti-

ties is as follows:

                      2.1.1.      Pablo Diego is a domiciled in Georgia.

                      2.1.2.      The domicile information for Vela Holdings,

LLLP and its members is provided in Paragraph 2.3 below, including subparts.

                      2.1.3       The domicile information for DK Family Hold-

ings, LLLP and its members is provided in Paragraph 2.2 below, including sub-

parts.

                      2.1.4       Solero Holdings, LLLP is a Georgia limited lia-

bility limited partnership with its principal office address located at 7000

Peachtree Dunwoody Road, Building 14, Atlanta, GA 30328. Solero Holdings,

LLLP has the following members: (1) Belen Diego, who is domiciled in Georgia;

and (2) The Belen Diego Irrevocable Trust, a trust created under the laws of the

State of Georgia. The trustee for The Belen Diego Irrevocable Trust is Pablo Di-




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ego, who is domiciled in Georgia. The beneficiaries for The Belen Diego Irrevo-

cable Trust are John Paul Diego and Ana Diego Krohn, who are domiciled in

Georgia.

            2.2.   DK Family Holdings, LLLP is a Georgia limited liability lim-

ited partnership with its principal place of business located at 7000 Peachtree

Dunwoody Road, NE, Building 14, Atlanta, GA 30328. DK Family Holdings,

LLLP has the following members: (1) Ana Diego Krohn; (2) The Ana Diego

Krohn Irrevocable Trust; and (3) Belen Diego, as Custodian for Jack Nicolas

Krohn. The domicile information for these individuals and entities is as follows:

                   2.2.1.         Ana Diego Krohn is domiciled in Georgia.

                   2.2.2.         The Ana Diego Krohn Irrevocable Trust is a trust

created under the laws of the State of Georgia. The trustee for The Ana Diego

Krohn Irrevocable Trust is Pablo Diego, who is domiciled in Georgia. The bene-

ficiaries for The Ana Diego Krohn Irrevocable Trust are Jack Krohn and Colin

Krohn, who are domiciled in Georgia.

                   2.2.3          Belen Diego, as Custodian for Jack Nicolas

Krohn, is domiciled in Georgia.

            2.3.   Vela Holdings, LLLP is a Georgia limited liability limited




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partnership with its principal place of business located at 7000 Peachtree Dun-

woody Road, NE, Building 14, Atlanta, GA 30328. Vela Holdings, LLLP has the

following members: (1) John Paul Diego; (2) The John Paul Diego Irrevocable

Trust; and (3) Abigail Ann Diego. The domicile information for these individuals

and entities is as follows:

                    2.3.1.      John Paul Diego is a domiciled in Georgia.

                    2.3.2.      The John Paul Diego Irrevocable Trust is a trust

created under the laws of the State of Georgia. The trustee for The John Paul Di-

ego Trust is Pablo Diego, who is domiciled in Georgia. The beneficiaries for The

John Paul Diego Irrevocable Trust are David A. Diego, Javier S. Diego, Roman

A. Diego, Maximus W. Diego, who are domiciled in Georgia.

                    2.3.3.      Abigail Ann Diego is domiciled in Georgia.

             2.4.   The Residential Group, LLC is a Georgia limited liability

company with its principal place of business located at 7000 Peachtree Dunwoody

Road, NE, Building 14, Atlanta, GA 30328. The Residential Group, LLC has the

following members: (1) DCRE, LLLP; (2) ZMCT Investments, LLC; (3) Vela

Holdings, LLLP; (4) DK Family Holdings, LLLP. The domicile information for

these entities is as follows:

                    2.4.1.      The domicile information for DCRE, LLLP and


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its members is provided in Paragraph 2.1 above, including subparts.

                     2.4.2.      ZMCT Investments, LLC is a Georgia limited li-

ability company with its principal place of business located at 7000 Peachtree

Dunwoody Road, Building 14, Atlanta, GA 30328. Its sole member is Kurt Alex-

ander, who is domiciled in Georgia.

                     2.4.3.      The domicile information for Vela Holdings,

LLLP and its members is provided in Paragraph 2.3 above, including subparts.

                     2.4.4.      The domicile information for DK Family Hold-

ings, LLLP and its members is provided in Paragraph 2.2 above, including sub-

parts.

              2.5.   Charles J. Harkness is domiciled in Georgia.

         3.   Defendant QBE is a Pennsylvania corporation with its principal

place of business located in Wisconsin. QBE may be served through its registered

agent, Linda Bank, at the following address: CT Corporation, 289 South Culver

Street, Lawrenceville, GA 30046.

         4.   This Court has personal jurisdiction over QBE because it regularly

transacts business in the State of Georgia, including through the issuance of the

relevant insurance policy under which The Management Group’s brings this ac-

tion. The Court’s exercise of personal jurisdiction over QBE satisfies both the


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Georgia Long Arm Statute, O.C.G.A. § 9-10-91, and the requirements of due pro-

cess.

        5.   Venue is proper in this Court under 28 U.S.C. §§ 1391 because QBE

is authorized to conduct business and does conduct business in Gwinnett County,

Georgia, a substantial part of the events giving rise to this suit occurred in Fulton

County, Georgia, the subject insurance policy was delivered in Georgia, and the

QBE is subject to personal jurisdiction in this Court.

        6.   This Court has subject-matter jurisdiction over this action under 28

U.S.C. § 1332 because the controversy is between citizens of different states, there

is complete diversity of citizenship, and the amount in controversy exceeds

$75,000, exclusive of interest and costs. By this action, The Management Group

seeks to recover an amount in excess of $75,000, including (1) all defense costs

associated with the defense of the Underlying Lawsuit (defined below), which to

date exceed $50,000, (2) all indemnity payments potentially owed under the Pol-

icy for the Underlying Lawsuit, including the alleged property damage of

$24,504.00, punitive damages, and the attorneys’ fees incurred by the Plaintiff in

the Underlying Lawsuit, (3) all attorneys’ fees and expenses The Management

Group incurs in pursuit of this action, as allowed under O.C.G.A. § 33-4-6, and

(4) statutory penalties under O.C.G.A. § 33-4-6.


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                        GENERAL ALLEGATIONS

                                The QBE Policy

      7.    QBE issued a commercial general liability insurance policy to The

Management Group, Policy No. MA 1800000001500 (“Policy”).

      8.    A true and correct copy of the Policy is attached as Exhibit "A."

      9.    Under the Policy, QBE agreed as follows:

      1. Insuring Agreement
      a. We will pay those sums that the insured becomes legally obligated
      to pay as damages because of "bodily injury" or "property damage"
      to which this insurance applies. We will have the right and duty to
      defend the insured against any "suit" seeking those damages. How-
      ever, we will have no duty to defend the insured against any "suit"
      seeking damages for "bodily injury" or "property damage" to which
      this insurance does not apply. We may, at our discretion, investigate
      any "occurrence" and settle any claim or "suit" that may result.

The Policy, Section I, Coverage A, Paragraph 1(a).

      10.   The Policy had a coverage term from August 1, 2018, through Au-

gust 1, 2019.

                            The Underlying Lawsuit

      11.   On June 22, 2020, Jovan Hawkins filed a lawsuit against The Man-

agement Group, LLC and other defendants in the State Court of Fulton County,

Georgia, styled as Jovan Hawkins v. M.T.S Howell Ferry Gardens, LLC, The




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Management Group, LLC, XYZ Company 1-3, and John Doe 1-3, Civil Action

File No. 20EV003388 (the “Underlying Lawsuit”).

      12.    A true and correct copy of the Complaint in the Underlying Lawsuit

is attached as Exhibit “B.”

      13.    The Complaint in the Underlying Lawsuit alleges that “[i]n March

of 2019, Mr. Hawkins moved into 1706 Wesley Plantation Road Duluth, Georgia

30096,” executing a lease for Apartment 1706. See Ex. B ¶ 5-6.

      14.    It alleges that, at all times relevant, The Management Group was “re-

sponsible for managing, operating and performing maintenance of The Crest at

Berkeley Lake, including, but not limited to the 1706 apartment.” Id. ¶ 8.

      15.    According to the Complaint in the Underlying Lawsuit, “[o]n or

about June 23, 2019, Mr. Hawkins was a tenant residing in the 1706 apartment

when the fire system sprinkler went off inside the home at or about 1:00 am caus-

ing severe flooding to the entire unit.” Id. ¶ 9.

      16.    The Complaint alleges that the cause of the flooding was determined

to be a malfunctioning sprinkler head. Id. ¶ 10.

      17.    Mr. Hawkins alleges that he contacted the leasing office managed by

The Management Group, advising it about the flooding and damage property, but




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that from June 2018 through at least June 2019, The Management Group failed to

make the proper repairs to prevent the premises from flooding. Id. ¶ 11-12.

      18.    The Underlying Lawsuit alleges Mr. Hawkins’ damages as follows:

      Mold, mildew, and/or water damage appeared on Mr. Hawkins'
      clothes, shoes, furniture, electronics, and other personal property in
      the 1706 apartment during the June 23, 2019 flooding incident
      caused by the malfunctioning fire sprinkler system.

      The above-mentioned personal property had/has to be either cleaned
      at Plaintiffs expense, or disposed of then replaced at Plaintiffs ex-
      pense.

Id. ¶¶ 13-14 (emphasis added).

      19.    In this way, the Underlying Lawsuit does not allege that the damages

to the plaintiff’s personal property would not have occurred, in whole or in part,

“but for” the presence of mold or mildew.

      20.    The Underlying Lawsuit alleges that the water intrusion incident

caused “water damage” to Mr. Hawkins’ personal property independent of any

mold or mildew.

      21.    The Underlying Lawsuit also alleges that the apartment developed

an odor, that Mr. Hawkins was forced to move to various hotels for months, and

that eventually The Management Group moved him into a different unit in the

same neighborhood. Id. ¶¶ 15-17. However, the Underlying Lawsuit does not

identify the cause of any alleged odor that developed in the apartment.

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      22.    From these allegations, the plaintiff brings the following substantive

claims against The Management Group: (1) failure to keep premises in repair; (2)

failure to notify of prior flooding; (3) liability for damages; (4) negligence; and,

(5) respondeat superior.

      23.    The Complaint in the Underlying Lawsuit alleges that Mr. Hawkins

incurred damages to his personal property in the amount of $24,504.00. Id. ¶ 34.

      24.    The Underlying Lawsuit also seeks to recover punitive damages and

attorney’s fees from The Management Group.

               QBE Denies Coverage for the Underlying Lawsuit

      25.    After being served with the Underlying Lawsuit, The Management

Group tendered the defense of the Underlying Lawsuit to QBE.

      26.    The Management Group complied with all notice obligations under

the Policy in notifying QBE of the Underlying Lawsuit.

      27.    The Underlying Lawsuit is a “suit” that seeks damages for “property

damage” as those terms are defined in the Policy.

      28.    No exclusion in the Policy applies to exclude coverage for the Un-

derlying Lawsuit.

      29.    Despite this, on July 10, 2020, QBE denied that coverage existed un-

der the Policy for the Underlying Lawsuit.


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      30.      As a result of this denial, The Management Group has incurred out

of pocket for attorneys’ fees and expenses relating to the defense of the Underly-

ing Lawsuit.

      31.      In addition, The Management Group has incurred attorney’s fees and

expenses relating to its efforts to secure coverage under the Policy from QBE.

      32.      In total, The Management Group has incurred a total of $58,439.99

in attorneys’ fees and expenses relating to the defense of the Underlying Lawsuit

and in its ongoing efforts to secure coverage under the Policy.

                          Bad-Faith Demand for Payment

      33.      On September 16, 2020, The Management Group sent by certified

mail a Demand for Payment Pursuant to O.C.G.A. § 33-4-6 (“Demand for Pay-

ment”), noting among other things that QBE’s failure to pay for the defense of the

Underlying Lawsuit was in bad faith under O.C.G.A. § 33-4-6.

      34.      In the Demand for Payment, The Management Group demanded that

QBE pay the total outstanding amount of the legal fees and expenses incurred in

defense of the Underlying Lawsuit within sixty days.

      35.      On October 6, 2020, QBE responded to The Management Group’s

Demand for Payment and refused to change its coverage position denying cover-

age under the Policy.


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        36.   In doing so, QBE failed to comply with The Management Group’s

Demand for Payment and has continued to fail to pay any of the legal fees or

expenses incurred by The Management Group in defense of the Underlying Law-

suit.

        37.   The Management Group continues to incur additional defense costs

and expenses that QGE refuses to pay as the Underlying Lawsuit continues.

        38.   By refusing to defend The Management Group in the Underlying

Lawsuit, QBE has improperly abandoned its insured in the Underlying Lawsuit.

                               COUNT I
                          BREACH OF CONTRACT

        39.   The Management Group hereby repeats and reincorporates Para-

graph 1 through 38 as if fully set forth herein.

        40.   The Management Group has fulfilled its obligations under the Policy

and has satisfied all conditions precedent.

        41.   QBE is required to pay on behalf of The Management Group all legal

fees and expenses incurred in defense of the Underlying Action pursuant to the

Policy.

        42.   QBE has breached the Policy by wrongfully refusing to defend The

Management Group in the Underlying Action and by wrongfully refusing to pay



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all reasonable defense costs associated with The Management Group’s defense of

the Underlying Lawsuit.

        43.   As a result of QBE’s breach, The Management Group has suffered

and will continue to suffer damages in an amount to be determined at trial.

                          COUNT II
        STATUTORY BAD FAITH PURSUANT TO O.C.G.A. § 33-4-6

        44.   The Management Group hereby repeats and reincorporates Para-

graph 1 through 38 as if fully set forth herein.

        45.   On September 16, 2020, The Management Group’s counsel sent

QBE a letter by certified mail that fulfilled the requirements of O.C.G.A. § 33-4-

6, demanding that QBE defend The Management Group in the Underlying Law-

suit.

        46.   Despite being provided an opportunity to comply with its contractual

obligations and prior written agreement, QBE has continued to fail to defend and

pay the total outstanding legal fees and expenses incurred by The Management

Group in defense of the Underlying Lawsuit.

        47.   QBE’s failure to pay the total legal fees and expenses incurred by

The Management Group in defense of the Underlying Lawsuit is frivolous and

unfounded, and without any reasonable basis in fact or law.



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      48.    QBE’s failure to defend and pay the total legal fees and expenses

incurred by The Management Group in defense of the Underlying Lawsuit con-

stitutes bad faith under O.C.G.A. § 33-4-6.

      49.    The Management Group provided QBE with sixty (60) days to com-

ply with its contractual obligations before filing this action as required by

O.C.G.A. § 33-4-6, but QBE failed to comply within sixty days.

      50.    As a result, QBE is liable to The Management Group for all damages

available under O.C.G.A. § 33-4-6, including a recovery of statutory penalties and

its reasonable attorneys’ fees.

                            PRAYER FOR RELIEF

      WHEREFORE, The Management Group, LLC respectfully requests it be

granted judgment in its favor and against QBE for:

      (a)    Monetary damages resulting from QBE’s breach of contract;

      (b)    Prejudgment interest;

      (c)    Damages pursuant to O.C.G.A. § 33-4-6, including statutory penal-

             ties and reasonable attorneys’ fees; and

      (d)    and that the Court grant any other relief that it deems just and proper.




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                                 JURY DEMAND

      The Management Group, LLC hereby demands a trial by jury for all issues

so triable that are raised in this Complaint.


      Respectfully submitted, this 24th day of December, 2020.


                                        FELLOWS LABRIOLA LLP

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